            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                             1:15 CR 108-1


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                   ORDER
                                       )
GODIET CORRAL.                         )
                                       )
______________________________________ )


      THIS CAUSE coming on to be heard and being heard before the undersigned

at the close of a Rule 11 proceeding that was held before this Court on February 12,

2016. It appeared to the Court at the call of this matter on for hearing the Defendant

was present with his attorney, Fredilyn Sison and the Government was present and

represented through AUSA John Pritchard. From the arguments of counsel for

Defendant and the arguments of the Assistant United States Attorney and the records

in this cause, the Court makes the following findings:

      Findings.    On December 1, 2015 a bill of indictment (#1) was issued

charging the Defendant with intentionally possessing with intent to distribute a

quantity of methamphetamine, in violation of 21 U.S.C. § 841(a)(1). On February

12, 2016 the undersigned held an inquiry, pursuant to Rule 11 of the Federal Rules

of Criminal Procedure, and accepted a plea of guilty of the Defendant to that charge.


                                          1



    Case 1:15-cr-00108-MR-WCM        Document 30     Filed 02/17/16   Page 1 of 3
At the end of the Rule 11 proceeding, this Court presented the issue of whether or

not Defendant should now be detained, pursuant to 18 U.S.C. § 3143(a)(2).

      Discussion.     18 U.S.C. § 3143(a)(2) provides as follows:

      (2) The judicial officer shall order that a person who has been found
      guilty of an offense in a case described in subparagraph (A), (B), or (C)
      of subsection (f)(1) of section 3142 and is awaiting imposition or
      execution of sentence be detained unless ----

             (A)(i) the judicial officer finds there is a substantial likelihood
      that a motion for acquittal or new trial will be granted; or

             (ii) an attorney for the Government has recommended that no
             sentence of imprisonment be imposed on the person; or

             (B) the judicial officer finds by clear and convincing evidence
             that the person is not likely to flee or pose a danger to any other
             person or the community.

      From an examination of the records in this cause, it appears Defendant has

entered a plea of guilty to 21 U.S.C. § 841(a)(1). That crime is one of the crimes

that is referenced under 18 U.S.C. § 3142(f)(1)(C). The undersigned made an

inquiry of Assistant United States Attorney John Pritchard as to whether or not there

will be a recommendation that no sentence of imprisonment be imposed upon

Defendant. Mr. Pritchard advised the Court that such a recommendation could not

be made in this matter. Due to the plea of guilty, the undersigned cannot find there

is a likelihood that a motion for acquittal or new trial will be granted due to the plea

of guilty of Defendant. It would thus appear, and the Court is of the opinion that the

                                           2



    Case 1:15-cr-00108-MR-WCM         Document 30     Filed 02/17/16    Page 2 of 3
Court is required to apply the factors as set forth under 18 U.S.C. § 3143(a)(2) which

mandate the detention of Defendant.

                                      ORDER

      IT IS, THEREFORE, ORDERED, that the terms and conditions of pretrial

release in this matter are hereby revoked and it is ORDERED that the Defendant be

detained pending further proceedings in this matter.


                                       Signed: February 17, 2016




                                          3



    Case 1:15-cr-00108-MR-WCM        Document 30        Filed 02/17/16   Page 3 of 3
